

Umami Labs LLC v Erisman (2024 NY Slip Op 05838)





Umami Labs LLC v Erisman


2024 NY Slip Op 05838


Decided on November 21, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 21, 2024

Before: Webber, J.P., Singh, Gesmer, Pitt-Burke, Michael, JJ. 


Index No. 651407/23 Appeal No. 3089 Case No. 2023-06720 

[*1]Umami Labs LLC, Plaintiff-Respondent,
vMichael Erisman et al., Defendants, Alexander Golubitsky, Defendant-Appellant.


Margulis Gelfand Diruzzo &amp; Lambson, New York (Joseph Diruzzo of counsel), for appellant.
Ievgeniia P. Vatrenko, Brooklyn, for respondent.



Order, Supreme Court, New York County (Margaret A. Chan, J.), entered September 18, 2023, which, to the extent appealed from, declined to reach defendant's claim for damages and attorneys' fees under CPLR 3211(g) and Civil Rights Law § 70-a upon a determination that the court lacked personal jurisdiction over defendant, unanimously affirmed, with costs.
Defendant moved to dismiss the amended complaint pursuant to CPLR 3211(a)(7) and 3211(a)(8). In the same motion, he moved under CPLR 3211(g) for attorneys' fees and damages under Civil Rights Law § 70-a.
The court correctly declined to reach defendant's motion pursuant to CPLR 3211(g). Contrary to defendant's contention, once the court found in his favor that it lacked personal jurisdiction over him, it was not required to perform an analysis under CPLR 3211(g) or to reach his claim under the Civil Rights Law (see e.g. Vuzix Corp. v Pearson , 2019 WL 5865342, 2019 US Dist LEXIS 195269 [SD NY Nov. 6, 2019, 19 Civ 689 (NRB)]; see generally Kreutter v McFadden Oil Corp. , 71 NY2d 460, 470 [1988]). Nor do the 2020 amendments to the Civil Rights Law require a different result.
We have considered defendant's remaining arguments and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 21, 2024








